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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION
                                         www.flsb.uscourts.gov

In re:                                                           Case No. 18-13063-EPK
                                                                 Chapter 7
DAVID H. FAGENSON

         Debtor.         /

                             MOTION TO DISMISS CHAPTER 7 CASE

         COMES NOW, DEBTOR, DAVID H. FAGENSON, by and through his undersigned

Counsel, and files this Motion to Dismiss Chapter 7 Case, and as grounds therefor would state as

follows:

         1.    On March 16, 2018, the Debtor filed a petition for relief under Chapter 7 of the

Bankruptcy Code.

         2.    The Debtor has re-evaluated his decision to file bankruptcy, and believes it to be in

the best interests of all parties to resolve his debts outside of bankruptcy.

         3.    No creditor will be harmed by the relief requested herein.

         4.    Debtor consents to entry of an 18-month prejudice period as to filing a case under

Title 11 of United States Code.

         WHEREFORE, Debtor respectfully requests this Court enter an Order dismissing his

Chapter 7 case, and for such other and further relief as this Court deems just and proper.

      I HEREBY CERTIFY that the foregoing Motion has been forwarded this 21st day of
August, 2018, by electronic mail and/or U.S. Mail to all the parties listed on the attached Service
List.

        I hereby certify that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice
in this Court set forth in Local Rule 2090-1(A).



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                                                                 MARKARIAN & HAYES
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                                                                 (561) 626-4700
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                                                                 By:       /s/Malinda L. Hayes_________
                                                                            MALINDA L. HAYES, ESQ.
                                                                            Florida Bar No. 0073503

                                     SERVICE LIST
Notice provided by Electronic Mail to:
• Heidi A Feinman Heidi.A.Feinman@usdoj.gov
• Malinda L Hayes, Esq. malinda@businessmindedlawfirm.com, mlhbnk@gmail.com
• Deborah Menotte menottetrustee@gmail.com, ecf.alert+Menotte@titlexi.com
• Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
• Lindsey Savastano Lsavastano@logs.com, electronicbankruptcynotices@logs.com

Notice provided by U.S. Mail to:
David H. Fagenson
4120 Venetia Way
Palm Beach Gardens, FL 33458

Synchrony Bank
PRA Receivables Management, LLC
c/o Valerie Smith
PO Box 41021
Norfolk, VA 23541

All creditors and interested parties on this Court’s List of Creditors as attached hereto.
X:\WPDOCS\Client Matters\Fagenson, David H\Pleadings\MOTION.Dismiss Case.Docx




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